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                                                                                          Howard M. Cooper
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                                                                November 19, 2020
   VIA ECF

   Honorable Loretta A. Preska
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007-1312

           Re:      Giuffre v. Dershowitz, Case No.: 19-cv-03377-LAP

   Dear Judge Preska:

          Having anticipated and addressed Plaintiff’s position regarding the parties’ protective order
   dispute in his opening letter, Professor Dershowitz submits this very short reply.

           Professor Dershowitz’s only interest here is ensuring that there is a discernable standard
   governing which documents may properly be designated confidential and which may not. The
   protective order and sealing orders in Giuffre v. Maxwell plainly lacked such a standard, as the Second
   Circuit recognized in Brown v. Maxwell, 929 F.3d 41 (2d Cir. 2019). As should be clear at this point,
   Professor Dershowitz has nothing to hide and thus nothing to gain from the type of star chamber
   proceedings which pervaded the Maxwell case. Accordingly, Professor Dershowitz cannot agree that
   documents produced by Plaintiff in this case are properly entitled to be treated as confidential simply
   because they were designated confidential when produced in Maxwell.

           Plaintiff’s objection to removing confidentiality designations from her Maxwell productions
   appears to be a matter of form rather than substance. Plaintiff states in her letter that “[i]t is not
   Plaintiff’s position that documents she produced in Giuffre v. Maxwell must remain confidential solely
   because they were previously produced in that matter.” ECF No. 193 at 2. Rather, the basis for
   Plaintiff’s objection appears to be that she does not want to expend the time necessary to review her
   Maxwell productions in order to make new designations as appropriate.

           While Professor Dershowitz disagrees that a review of her Maxwell productions imposes any
   new, additional or undue burden on Plaintiff, particularly given the nature of Plaintiff’s incendiary
   claims against Professor Dershowitz and in light of the burdensome discovery Plaintiff has sought from
   him, Professor Dershowitz offers the following compromise: Professor Dershowitz will agree that
   Plaintiff can make new designation decisions on an as-needed basis (as set forth in the third full
   paragraph of page 2 of Plaintiff’s letter, ECF No. 193), provided that the standard to be applied to such
   decisions is the one set forth in Paragraph 2 of Professor Dershowitz’s proposed order. In other words,
   the only legitimate grounds to continue to assert confidentiality over a document which Plaintiff herself
   originally produced in the Maxwell case are the grounds set forth at subsections (i)-(iv) of Paragraph 2
   of Professor Dershowitz’s proposed order, which provide protection for personally identifiable
   information, financial and medical information, and identifying information of sexual abuse victims.
   Documents not falling into any of these categories must have their confidentiality designations removed
   at Professor Dershowitz’s request.


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          Professor Dershowitz respectfully requests that the Court adopt the proposal set forth above,
   leaving the parties to memorialize this proposal in a final form of order which they can then submit for
   entry by the Court.




                                                       Respectfully submitted,

                                                       /s/ Howard M. Cooper
                                                       Howard M. Cooper

   cc:     All counsel of record, via email




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